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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION


  TANYA GERSH,
                                                      CV 17-50-M-DLC-JCL
                        Plaintiff,
                                                      ORDER AND
  vs.                                                 FINDINGS &
                                                      RECOMMENDATION
  ANDREW ANGLIN,

                        Defendant.




         Plaintiff Tanya Gersh brings this action against Defendant Andrew Anglin,

the publisher of a website who she claims initiated an online anti-Semitic

harassment and intimidation campaign against her and her family. Anglin has

moved to dismiss Gersh’s Complaint under Federal Rule of Civil Procedure 12(b)

for lack of diversity subject matter jurisdiction, for lack of personal jurisdiction

based on insufficient service of process, and for failure to state a claim upon which

relief can be granted. For the reasons set forth below, Anglin’s motion should be

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denied to the extent it seeks dismissal for lack of subject matter jurisdiction

pursuant to Rule 12(b)(1) and for lack of personal jurisdiction based on insufficient

service of process pursuant to Rule 12(b)(5).

      To the extent Anglin moves to the dismiss pursuant to Rule 12(b)(6) for

failure to state a claim upon which relief can be granted, the Court will address the

motion in a separate Findings and Recommendation after holding oral argument.

I.    Background1

      Gersh lives in Whitefish, Montana, and has a real estate practice there. She

and her husband are Jewish, and have raised their two children in the Jewish faith.

In late 2016, Gersh became involved in a real estate dispute with Sherry Spencer

(“Spencer”), the owner of a mixed-used property in downtown Whitefish.

Spencer’s son, Richard Spencer, is a white nationalist member of the far right who

gained notoriety when a video of him stating “Hail Trump! Hail our people! Hail

victory” during a gathering of white nationalists soon after President Donald

Trump’s election went viral. Following the video’s release, some members of the

Whitefish community who believed that Spencer had not disavowed her son’s

racist views considered protesting in front of her mixed-use property.




1 The following background facts are taken from the Complaint and accepted as
true for present purposes only.
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        When Gersh learned about the possible protests, she contacted the building’s

commercial tenants to warn them and spoke with Spencer about the situation.

Spencer essentially asked Gersh what she should do, and Gersh said that if she

were in Spencer’s situation she might sell the building, donate the profits, and

make a public statement denouncing her son’s views. Spencer apparently liked that

idea at first, and asked Gersh if she would be the realtor and help her sell the

property. Spencer subsequently changed her mind about having Gersh list the

property, however, and on December 15, 2016, she published a post on a blog

website accusing Gersh of threatening and harassing her into agreeing to sell the

property.

        The day after Spencer’s blog post, Anglin posted the first in a series of thirty

articles related to Gersh on his website, The Daily Stormer. The December 16,

2016, article republished Spencer’s allegations against Gersh and was titled “Jews

Targeting Richard Spencer’s Mother for Harassment and Extortion – TAKE

ACTION!” Anglin called for a “troll storm” against Gersh, and included contact

information for her, her husband, and her twelve-year old son. Anglin encouraged

readers to contact Gersh and members of her family to “tell them you are sickened

by their Jew agenda” and make their opinions of her behavior known. (Doc. 1, at

18).

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        As soon as Anglin’s December 16, 2016, article went live, Gersh and her

family began receiving hundreds of threatening and harassing communications,

including phone calls, voicemails, text message, emails, letters, and social media

comments. For approximately the next two months, Anglin continued publishing

articles about Gersh on his website, and the troll storm against Gersh and her

family continued. All told, Gersh and her family received more than 700

threatening and harassing communications during this period.

        Gersh filed this action against Anglin on April 18, 2017, invoking the

Court’s diversity subject matter jurisdiction under 28 U.S.C. § 1332. Gersh asserts

state law claims against Anglin for invasion of privacy, intentional infliction of

emotional distress, violations of Montana’s Anti-Intimidation Act, and punitive

damages. Gersh sought and obtained two extensions of time to effect service, and

on November 14, 2017, defense counsel entered an appearance on Anglin’s behalf.

Approximately two weeks later, Anglin filed the pending motion to dismiss the

Complaint for lack of diversity subject matter jurisdiction under Rule 12(b)(1), for

lack of personal jurisdiction based on insufficient service of process under Rule

12(b)(5),2 and for failure to state a claim upon which relief can be granted under

Rule 12(b)(6).



2   Anglin also cites Rule 12(b)(2), which provides for dismissal based on lack of
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II.    Legal Standards

       A.    Rule 12(b)(1)

       A motion to dismiss under Federal Rule of Civil Procedure 12(b)(1)

challenges the court’s subject matter jurisdiction over the claims asserted.      “Once

challenged, the party asserting subject matter jurisdiction has the burden of proving

its existence.” Rattlesnake Coalition v. United States Environmental Protection

Agency, 509 F.3d 1095, 1102 n. 1 (9th Cir. 2007).

       A defendant may pursue a Rule 12(b)(1) motion to dismiss for lack of

jurisdiction either as a facial challenge to the allegations of a pleading, or as a

substantive challenge to the facts underlying the allegations. Savage v. Glendale

Union High School, Dist. No. 205, Maricopa County, 343 F.3d 1036, 1039 n.2 (9th

Cir. 2003). A facial challenge to the jurisdictional allegations is one which

contends that the allegations “are insufficient on their face to invoke federal

jurisdiction.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004).

The success of a facial challenge to jurisdiction depends on the allegations in the




personal jurisdiction. Rule 12(b)(2) and (5) are different in that the former applies
where a defendant challenges the basis for jurisdiction over his person, and the
latter applies where a defendant challenges the method by which jurisdiction was
obtained through service of process. Because Anglin is seeking dismissal based on
insufficient service of process, his motion is properly considered under Rule
12(b)(5).
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complaint, and does not involve the resolution of a factual dispute. Wolfe v.

Strankman, 392 F.3d 358, 362 (9th Cir. 2004). In a facial challenge the court must

assume the allegations in the complaint are true and it must “draw all reasonable

inferences in [plaintiff’s] favor.” Wolfe, 392 F.3d at 362.

      “By contrast, in a factual attack, the challenger disputes the truth of the

allegations that, by themselves, would otherwise invoke federal jurisdiction.”

Safe Air for Everyone, 373 F.3d at 1039. In resolving such a factual attack, the

court “may review evidence beyond the complaint without converting the motion

to dismiss into a motion for summary judgment.” Safe Air for Everyone, 373 F.3d

at 1039. If the moving party has “converted the motion to dismiss into a factual

motion by presenting affidavits or other evidence properly brought before the

court, the party opposing the motion must furnish affidavits or other evidence

necessary to satisfy its burden of establishing subject matter jurisdiction.” Safe Air

for Everyone, 373 F.3d at 1039 (quoting Savage v. Glendale Union High Sch., 343

F.3d 1036, 1039 n. 2 (9th Cir. 2003)). In looking to matters outside the pleadings,

the Court must “resolve all disputes of fact in favor of the non-movant...similar to

the summary judgment standard.” Dreier v. United States, 106 F.3d 844, 847 (9th

Cir. 1996). As with a motion for summary judgment, the party moving to dismiss

for lack of subject matter jurisdiction “should prevail only if the material

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jurisdictional facts are not in dispute and the moving party is entitled to prevail as a

matter of law.” Casumpang v. Int’l Longshoremen’s & Warehousemen’s Union,

269 F.3d 1042, 1060-61 (9th Cir. 2001).

        B.    Rule 12(b)(5)

        A federal court cannot exercise personal jurisdiction over a defendant

without proper service of process. Omni Capital Int’l v. Rudolf Wolff & co., 484

U.S. 97, 104 (1987). Under Rule 12(b)(5), dismissal is the proper remedy for

insufficient service of process. Once the sufficiency of service has been

challenged, the plaintiff bears the burden of establishing that service was valid

under Rule 4 of the Federal Rules of Civil Procedure. Brockmeyer v. May, 383

F.3d 798, 801 (9th Cir. 2004). “The court may consider evidence outside the

pleadings in resolving a Rule 12(b)(5) motion.” Fairbank v. Underwood, 986

F.Supp.2d 1222, 1228 (D. Ore. 2013).

III.    Discussion

        A.    Subject Matter Jurisdiction

        For the Court to have subject matter jurisdiction based on diversity, all

plaintiffs must be of different citizenship than all defendants, and the amount in

controversy must exceed $75,000. See 28 U.S.C. § 1332. Anglin does not dispute

that the amount in controversy exceeds $75,000, but contends Gersh has not met

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her burden of demonstrating that she and Anglin were of diverse citizenship at the

time the Complaint was filed in April 2017.

      The Complaint claims “diversity of citizenship” and alleges that Gersh is a

citizen of Whitefish, Montana while Anglin is a citizen of Ohio.” 3 Anglin does not

dispute that these allegations are facially sufficient to invoke the Court’s diversity

jurisdiction, but instead makes a factual challenge to the truth of the allegations.

According to Anglin, he was domiciled abroad when the Complaint was filed, and

so was not a citizen of Ohio or any other state for purposes of establishing

diversity.

      “To demonstrate citizenship for diversity purposes a party must (a) be a

citizen of the United States, and (b) be domiciled in a state of the United States.”

Lew v. Moss, 797 F.2d 747, 749 (9th Cir. 1986). An individual who is a citizen of

the United States but has no domicile in any state is considered “stateless” for

purposes of diversity jurisdiction. Newman-Green, Inc. v. Alfonzo-Larrain, 490




3 As originally filed, the Complaint alleged residency instead of citizenship. (Doc.
1, ¶¶ 32, 36, 39). At the preliminary pretrial conference, counsel for plaintiff
affirmatively asserted that Gersh is a citizen of Montana and Anglin is a citizen of
Ohio. (Doc. 45, at 12-14). Defense counsel stated that he did not object to allowing
Gersh to amend the Complaint to allege citizenship. Accordingly, the Court
ordered that the Complaint was effectively amended to reflect that Gersh had
alleged the state of citizenship of the respective parties. (Doc. 45, at 14; Doc. 41, at
1).
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U.S. 826, 828 (1989). Thus, a United States citizen who is domiciled abroad

cannot be sued in federal court based on diversity jurisdiction. See Brady v. Brown,

51 F.3d 810, 816 (9th Cir. 1995); Freidrich v. Davis, 767 F.3d 374, 378 (3rd Cir.

2014).

      The party asserting diversity jurisdiction bears the burden of establishing the

opponent’s domicile, which is to be determined at the time the lawsuit is filed.

Lew, 797 F.2d at 794. Once established, a person’s “domicile is not lost until a new

one is acquired.” Lew, 797 F.2d at 750. A change in domicile requires two things:

“physical presence at a new location” and “an intention to remain there

indefinitely.” Lew, 797 F.2d at 750. A person’s “mere absence” from an

established domicile, “however long continued, cannot work the change.”Mintzis v.

Scott, 2014 WL 3818104 *5 (C.D. Cal. July 30, 2014) (quoting Mitchell v. United

States, 88 U.S. 350, 353 (1874)).

      If domicile is established as being in one location, the burden of production

shifts to the opposing party to present substantial evidence of a change in domicile.

Lew, 797 F.2d at 751-52. The “party with the burden of proving citizenship may

rely on the presumption of continuing domicile, which provides that once

established, a person’s state of domicile continues unless rebutted with sufficient

evidence of change.” Mondragon v. Capital One Auto Finance, 736 F.3d 880, 885

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(9th Cir. 2013).

      “[A] person is ‘domiciled’ in a location where he or she has established a

‘fixed habitation or abode in a particular place, and [intends] to remain there

permanently or indefinitely.’” Lew, 797 F.2d at 749-50 (quoting Owens v.

Huntling, 115 F.2d 160, 162 (9th Cir. 1940)). Domicile is determined based on a

number of objective factors, no single one of which is controlling, including:

“current residence, voting registration and voting practices, location of personal

and real property, location of brokerage and bank accounts, location of spouse and

family, membership in unions and other organizations, place of employment or

business, driver’s license and automobile registration, and payment of taxes.” Lew,

797 F.2d at 750. Courts are to evaluate domicile based on “objective facts,” and

“statements of intent are entitled to little weight when in conflict with facts.” Lew,

797 F.2d at 750.

      Here, the Lew factors weigh in favor of finding that Anglin was domiciled in

Ohio at the time the Complaint was filed in April 2017. Public records produced by

Gersh identify three Franklin County, Ohio residential addresses associated with

Anglin between 2003 and 2010. (Doc. 50-2). Records cited by Gersh reflect that

Anglin registered to vote in Ohio on October 11, 2016, and voted in the 2016

general election in Franklin County, Ohio by absentee ballot. (Doc. 50-4). The

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Court also notes that Anglin has longstanding family ties in Ohio. Gersh points to

evidence showing that Anglin’s father and siblings live in Franklin County, Ohio,

and his father owns several properties and operates a business there. (Docs. 50-2;

50-6; 50-7).

      Most importantly, Gersh has presented evidence that Anglin maintains

significant business ties to Ohio. Both of Anglin’s businesses -- Moonbase

Holdings, LLC and Daily Stormer – are registered with the Ohio Secretary of State

and are active. (Docs. 50-8; 50-9). There is evidence that Anglin has maintained

and used various mailing addresses in Franklin County, Ohio for business and

other purposes. The active contact address for both of Anglin’s businesses is

located in Franklin County, Ohio. (Docs. 50-8, at 2; 50-9, at 2). And as recently as

April 2017, Anglin published an Ohio post office box address to solicit donations

for his legal defense in this lawsuit. (Docs. 13-3, at 2; 13-4, at 5).

      Considered collectively, these objective facts are sufficient to establish that

Anglin was domiciled in Ohio before Gersh filed her Complaint in April 2017. In

fact, Anglin does not dispute that he “used to live in Ohio” (doc. 59, at 15) and was

previously domiciled there, which explains why he voted in the 2016 general

election by absentee ballot in Franklin County, Ohio. (Doc. 64-1, ¶ 20); see 52

U.S.C. § 2310(5)(B)-(C) (stating that an “overseas voter” is qualified to vote “in

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the last place in which the person was domiciled before leaving the United

States.”). But according to Anglin, he “changed his domicile from Ohio” (doc. 59,

at 17) and moved abroad permanently long before Anglin initiated this action in

April 2017. Anglin claims he changed his domicile to the Philippines sometime

before 2010, then to Greece in 2013, and finally to Cambodia on April 14, 2017 –

just four days before Gersh filed her Complaint in this case. If the Court finds that

he has not established a Cambodian domicile, Anglin asks the Court to find based

on the presumption of continuing domicile that his last domicile in Greece was the

operative domicile at the time the Complaint was filed in April 2017.

      Anglin admits that he does not have much to document his alleged domiciles

abroad (doc.70, at 2), but has filed a supporting declaration to substantiate his

claim that he is no longer domiciled in Ohio. Anglin begins by addressing the

remaining Lew factors, and stating that he does not own any real property in Ohio

or maintain any residence there, does not own a motor vehicle registered in Ohio,

does not hold any professional license issued by the State of Ohio, and does not

pay income or other taxes to the State of Ohio. (Doc. 64-1, at 3). Significantly,

however, Anglin does not claim to have done any of these things in the

Philippines, Greece, Cambodia, or anywhere else for that matter. Because there is

no evidence that Anglin engaged in any of these activities in Ohio or elsewhere,

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these Lew factors are essentially neutral and say nothing about Anglin’s domicile.

Even assuming Anglin’s statements are true, they are not sufficient to demonstrate

that he lost his Ohio domicile by acquiring a new one abroad.

      For the most part, the rest of Anglin’s declaration is a series of subjective

statements regarding his intent to change domicile. Anglin states he left Ohio

permanently and established a new domicile in the Philippines sometime before

2010, but has not produced any objective evidence showing such a change in

domicile. Anglin simply states in his declaration that sometime before 2010, he

“took up residency in the Philippines, with the intent to live there permanently.”

(Doc. 64-1, ¶ 21). Anglin explains that he does not have any documentation of his

travel to the Philippines, however, because he obtained a new passport in 2013.

(Doc. 64-1, ¶ 21). The Court gives Anglin’s statement of intent little weight

because it is not corroborated by any objective facts and is in conflict with

evidentiary materials provided by Gersh. As discussed above, Gersh has produced

evidence showing that Anglin maintained significant business, civic, and family

ties in Ohio long after he claims to have taken up residency in the Philippines.

Anglin’s declaration is not sufficient to demonstrate that he changed his domicile

from Ohio to the Philippines before 2010.

      Anglin’s attempt to show that he established his domicile in Greece in 2013

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fares no better. Anglin states that he “moved to Greece, with the intent to live there

permanently” in 2013 and considered the country his permanent home. (Doc. 64-1,

at ¶ 22). Anglin explains that before he moved to Greece, he visited the Consulate

General of Greece in Chicago and was advised to enroll in an academic program

once he entered Greece in order to obtain the most useful visa. Instead of following

that advice, however, Anglin states that he “obtained employment as a tour guide”

for a youth hostel in Athens. (Doc. 64-1). Notably, however, Anglin has not come

forward with any records documenting either the fact or duration of his alleged

employment in Greece. Nor has he provided any other evidence to corroborate his

claim of a Greek domicile, such as residential rental agreements or bank account

records. And while Anglin states that he has attached photocopied excerpts from

his passport evidencing his travels to Greece, the pages he has provided do not

contain any entry and exit tourist visa stamps from Greece. (Doc. 64-1, at 6-12).

Although it is not dispositive, the Court also finds the fact that Anglin does not

even claim to have had a visa that would have permitted him to remain in Greece

indefinitely further undermines claim that he established a domiciled there. See Jee

Solar Co., Ltd. v. Matinee Energy, Inc., 2015 WL 10939972 *10 (D. Ariz. Mar. 30,

2015). As with his alleged domicile in the Philippines, the Court views Anglin’s

self-serving statements regarding his alleged domicile in Greece with skepticism

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because they are in conflict with the objective facts showing that he maintained

significant ties to Ohio. Anglin has not met his burden of producing sufficient

evidence to support his claim that he changed his domicile to Greece in 2013.

      Anglin next claims that he established a new domicile in Cambodia in April

2017 – just four days before Gersh filed her Complaint in this case. Anglin

declares that on April 14, 2017, he “moved to the Kingdom of Cambodia, with the

intent to live there permanently.” (Doc. 64-1, ¶ 26). Anglin provides little in the

way of supporting detail, however, stating only that while he was in Cambodia, he

“lived at the Damnak Villa Boutique, located in the Old Market, Wat Damnak

Village, in Siem Reap City” and purchased a motorcycle. (Doc. 64-1, ¶¶ 27-28).

Anglin has not produced any corroborating evidence of his stay at the Damnak

Villa Boutique hotel. But even assuming he did stay there, the temporary nature of

such a housing arrangement is not indicative of intent to live in Cambodia

indefinitely and does not support his claim that he was domiciled there. Anglin has

also failed to produce any materials documenting his alleged motorcycle purchase,

and has not submitted any evidence as to the remaining objective factors identified

in Lew.

      To support his claim of Cambodian domicile, Anglin relies instead on

photocopied pages from his passport confirming that he did in fact enter the

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country on April 14, 2017, on a one-month tourist visa. (Doc. 64-1, at 10).

Anglin’s passport further shows that he exited Cambodia on May 3, 2017, and

reentered again on May 4, 2017, on another one-month visa. (Doc. 64-1, at 10-12).

On May 5, 2017, Anglin extended his Cambodian visa for another seven months,

but on August 19, 2017, he exited the country and has not returned since. (Doc. 64-

1, at 11-12). All told, Anglin spent just over four months in Cambodia, and had

only been in the country for four days when Gersh filed her Complaint on April 18,

2017. The fact that Anglin was only in Cambodia for a few months, and did not

even stay for the duration of his temporary visa, undercuts his statement that he

moved there in April 2017 with the intent to live there permanently.

      According to Anglin, his absence from Cambodia is only temporary (doc.

64-1, ¶ 29) and he intends to return when he believes it is safe for him to do so.

Because he regularly receives “true threats of death and injury,” Anglin has been

unwilling to “publicly disclose his current whereabouts” out of concern for his

personal safety. (Doc. 64-1, ¶ 32-33). To address those concerns, the Court issued

an order allowing Anglin to “submit whatever proof he deems necessary to

establish his current whereabouts for in camera review” to the extent such proof

might be relevant to the issue of domicile. (Doc. 31).

      In response to that Order, Anglin made an in camera submission to the Court

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for the purpose of rebutting evidence that he was seen in Ohio as recently as

December 2017. (Doc. 71-1). Gersh has produced a declaration by Jeffrey

Cremeans, the process server hired to serve Anglin with the Summons and

Complaint. (Doc. 50-22). Cremeans states that on December 10, 2017, he saw and

confronted Anglin in a grocery store in Columbus, Ohio. (Doc. 50-22). Gersh

argues the fact that Anglin was seen in Ohio on December 10, 2017 is further

evidence of his ongoing domiciliary ties to the state and undermines his claim that

he is currently abroad.

      To rebut that evidence, Anglin has submitted additional photocopied pages

from his passport to document his travels since leaving Cambodia in August 2017.

(Doc. 71-1). Anglin argues the exit and entry stamps on these passport pages show

that he could not have been in Ohio in December 2017. But even assuming what

Anglin says is true, and he was not in Ohio when Cremeans claims to have seen

him in December 2017, Gersh has otherwise presented sufficient evidence to

establish based on the Lew factors that Anglin established an Ohio domicile which

is presumed to have continued until the Complaint was filed on April 18, 2017. As

discussed above, Anglin has not produced substantial evidence to overcome that

presumption. Anglin’s in camera submission does not help him clear this

evidentiary hurdle because it does not contain any evidence regarding his alleged

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domiciliary ties to the Philippines, Greece, or Cambodia. Even assuming that

Anglin’s in camera submission were sufficient to prove he is still traveling abroad

and has not returned to Ohio since leaving Cambodia, “mere absence” from a

previously established domicile is not enough to establish a change. See Mintzis,

2014 WL 3818104 *5 (quoting Mitchell,88 U.S. at 353).

      For the reasons set forth above, the Court finds based on the Lew factors and

the presumption that a person’s domicile continues absent sufficient evidence of a

change, that Anglin was domiciled in Ohio when Gersh filed her Complaint in

April 2017. Because Gersh has thus met her burden of establishing diversity of

citizenship, Anglin’s Rule 12(b)(1) motion to dismiss for lack of subject matter

jurisdiction should be denied.

      B.     Service of Process

      Even assuming the Court has subject matter jurisdiction, Anglin argues this

action should be dismissed based on untimely and ineffective service of process,

and consequently, lack of personal jurisdiction.

      Under Rule 4(e), a party may serve an individual by delivering a delivering a

copy of the summons and complaint to the individual personally, by leaving a copy

of each at the individual’s dwelling or usual place of abode, or delivering a copy of

each to an authorized agent. Fed. R. Civ. P. 4(e)(2). Alternatively, a party may

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serve an individual by “following state law for serving a summons in…the state

where service is made.” Fed. R. Civ. P. 4(e)(1). “If a defendant is not served within

90 days after the complaint is filed, the court…must dismiss the action without

prejudice against that defendant or order that service be made within a specified

time.” Fed. R. Civ. P. 4(m).

        Gersh initially attempted to personally serve Anglin as allowed under Rule

4(e)(2), by hiring a registered process server who made several attempts to serve

Anglin with a copy of the summons and complaint at each of the Ohio addresses he

was found to have a connection with. When those attempts at service were

unsuccessful, Gersh relied on the objective evidence of Anglin’s Ohio domicile to

attempt service under Ohio state law pursuant to Rule 4(e)(1).

        The Ohio Rules of Civil Procedure provide that the clerk of court can effect

service by certified mail. Ohio R. Civ. P. 4.1. If service by certified mail is

returned and marked unclaimed, Ohio Rule 4.6(D) allows for service by ordinary

mail upon a written request filed with the clerk. If the ordinary mail is not returned,

service is considered complete. Ohio R. Civ. P. 4.6(D). Gersh attempted to serve

Anglin by both of these methods, but the Franklin County Clerk of Court’s

certified and ordinary mail service attempts were returned undeliverable. (Doc. 50-

13).

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      Accordingly, on August 25, 2017, Gersh requested that the Franklin County

Ohio Clerk of Court initiate service by publication pursuant to Ohio Rule of Civil

Procedure 4.4. Upon the filing of a proper affidavit, Rule 4.4 provides for service

by publishing public notice in a newspaper of general circulation in the county in

which the complaint is filed “at least once a week for six successive weeks”. Ohio

R. Civ. P. 4.4(A)(1). Gersh submitted an affidavit to the Franklin County Clerk of

Court, and public notice in the The Daily Reporter, a newspaper of general

circulation in Franklin County, Ohio, began to run on September 13, 2017. (Doc.

50-14). The initial public notice contained two errors, which were subsequently

corrected. The corrected public notice ran for five more weeks between

September 20, 2017, and October 18, 2017. (Doc. 19-1). Gersh also placed a

second, identical public notice which ran in the same paper for six consecutive

weeks between October 5, 2017, and November 9, 2017. (Doc. 50-15).

      On October 27, 2017, Gersh filed a Notice Regarding Service of Process

stating that public notice had been published for at least six consecutive weeks in

The Daily Reporter – a newspaper of general circulation in Franklin County, Ohio

– as required by Ohio law.” (Doc. 19). Approximately two weeks later, counsel

entered an appearance on Anglin’s behalf and by the end of November 2017 had

filed the pending motion to dismiss.

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      Anglin first argues that service was untimely because it was not

accomplished until after the extended deadline established by the Court. Gersh

filed her Complaint on April 18, 2017, which meant that the 90-day period for

service was set to expire on July 17, 2017. Due to her initial difficulties, however,

Gersh sought and obtained two court ordered extensions of time giving her until

October 27, 2017, to effect service. (Docs. 14 & 17). Anglin points out that the last

public notice appeared in The Daily Reporter on November 9, 2017, and maintains

Gersh thus failed to comply with the October 27, 2017, deadline.

      As the materials submitted by Gersh reflect, however, she published the

corrected public notice for six consecutive weeks beginning on September 20,

2017 and ending on October 26, 2017. Service was thus completed on October 26,

2017 – one day before the extended deadline. The fact that the public notice ran for

an additional two weeks is immaterial.

      Anglin next argues that service was ineffective for two reasons, both of

which are without merit. First, he takes the position that service in Ohio was

ineffective because he is not an Ohio resident, which means that he is not subject

to the general personal jurisdiction of the Ohio courts. And because he is not

alleged to have taken any action in the state of Ohio, he maintains the Ohio courts

do not have specific personal jurisdiction over him under the Ohio long-arm

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statute. Because the Ohio courts do not have personal jurisdiction over him, Anglin

argues, service under Fed. R. Civ. P. 4(e)(1) was ineffective because that rule only

allows service pursuant to state law if that state has personal jurisdiction over the

defendant.

      This argument is based on a misreading of Rule 4(e)(1) and conflates the

sufficiency of service of process with the existence of personal jurisdiction. Rule

4(e)(1) simply states that an individual may be served by “following state law for

serving a summons in an action brought in courts of general jurisdiction in the

state…where service is made.” When applying Rule 4(e)(1), the question is not

whether the state where service is made has personal jurisdiction over the

defendant, but whether the plaintiff in the federal court action complied with that

state’s law for serving a summons. Thus, whether Ohio’s courts of general

jurisdiction have personal jurisdiction over Anglin has nothing to do with whether

Gersh effectively served him under Ohio law. As discussed above, Gersh has

established that Anglin was domiciled in Ohio at the time she filed the Complaint

in April 2017, and as allowed by Rule 4(e)(2), she effectively served him by

publication under Ohio law.

      Second, Anglin contends that service by publication was unlawful because

Gersh’s counsel was not admitted to practice pro hac vice in Ohio. Under Ohio

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Rule of Civil Procedure 4.4(A)(1), a party seeking to effect service by publication

must file a supporting affidavit. Anglin argues that the drafting of such an

affidavit is an act of advocacy that must be undertaken by an attorney licensed to

practice in Ohio, and that the determination by a public official as to the

sufficiency of such an affidavit is a judicial function rather than a ministerial one.

      Anglin’s arguments are unpersuasive. For one thing, Gersh is invoking the

jurisdiction of this Court and not that of the Ohio courts, which means the

sufficiency of the affidavit for service of process would be for this Court to

adjudicate if it were challenged, which it is not. Furthermore, under Ohio rules of

practice, an attorney need only seek pro hac vice admission in order to “be

permitted to represent parties in any litigation pending or to be filed in” the

Franklin County Court of Common Pleas. (Doc. 50-20). Gersh’s counsel was not

representing a party in litigation pending or to be filed in the Ohio court, but rather

attempting to serve process on a party to litigation pending and filed in this Court.

Under the Ohio rules of professional conduct, a lawyer does not engage in the

unauthorized practice of law when he “is admitted in another United States

jurisdiction, is in good standing in tha[at] jurisdiction…, and regularly practices

law” and when the “legal services” he provides in Ohio “are reasonably related to a

pending…proceeding before a tribunal in …another jurisdiction….” Ohio Rule of

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Professional Conduct 5.5(c)(2). To the extent Gersh’s counsel provided “legal

services” in Ohio, his conduct falls squarely within this exception to the

prohibition against the unauthorized practice of law. The Court therefore rejects

Anglin’s argument that Gersh’s counsel engaged in the unauthorized practice of

law by invoking Ohio procedure for serving process without first obtaining pro hac

vice admission.

       For the reasons set forth above, the Court concludes that Gersh effectively

and timely served Anglin by publication under Ohio law as allowed by Fed. R.

Civ. P. 4(e)(1). Anglin’s motion to dismiss for lack of personal jurisdiction based

on insufficient service of process should be denied accordingly.

IV.    Conclusion

       For the reasons set forth above,

       IT IS RECOMMENDED that Anglin’s Motion to Dismiss be DENIED to

the extent it seeks dismissal for lack of subject matter jurisdiction pursuant to Rule

12(b)(1) and for lack of personal jurisdiction based on insufficient service of

process pursuant to Rule 12(b)(5).

       To the extent Anglin moves to the dismiss the Complaint pursuant to Rule

12(b)(6) for failure to state a claim upon which relief can be granted,




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      IT IS ORDERED that oral argument on Anglin’s motion is scheduled for

April 3, 2018, at 1:30 p.m., at the Russell Smith Courthouse, 201 E. Broadway,

in Missoula, Montana.

            DATED this 21st day of March, 2018.



                                            ______________________________
                                            Jeremiah C. Lynch
                                            United States Magistrate Judge




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